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5
     Attorney for Defendant
6    ESTEVAN RODRIGUEZ
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        )   NO. 1:07-cr-00097 AWI
                                                      )
12                          Plaintiff,                )   STIPULATION TO CONTINUE MOTIONS
                                                      )   SCHEDULE AND HEARING;
13          v.                                        )   ORDER
                                                      )
14   ESTEVAN RODRIGUEZ, Et al.,                       )   Date: January 28, 2008
                                                      )   Time: 9:00 A.M.
15                          Defendant.                )   Judge: Hon. Anthony W. Ishii
                                                      )
16                                                    )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel that a new motions schedule be set as follows: motions in the above-captioned matter shall be
20   filed on or before January 2, 2008, responses shall be filed on or before January 14, 2008, replies shall be
21   filed on or before January 22, 2008, and the status conference/motions hearing in the above-referenced
22   matter now set for December 17, 2007, may be continued to January 28, 2008, at 9:00 A.M.
23          This continuance is requested by counsel for Defendant Estevan Rodriguez to allow her additional
24   time for further defense preparation and investigation, and to allow the parties time for negotiation. The
25   requested continuance will conserve time and resources for all parties and the court.
26   ///
27   ///
28   ///
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1            The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice, including but not limited to, the need for the period of time set forth herein in the interest of justice
3    and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(1)(F), 3161(h)(8)(A) and
4    3161(h)(8)(B)(i) and (iv).
5                                                                     McGREGOR W. SCOTT
                                                                      United States Attorney
6
7    DATED: December 13, 2007                                   By: /s/ Kimberly A. Sanchez
                                                                   KIMBERLY A. SANCHEZ
8                                                                  Assistant United States Attorney
                                                                   Attorney for Plaintiff
9
10                                                                    DANIEL J. BRODERICK
                                                                      Federal Public Defender
11
12   DATED: December 13, 2007                                   By:    /s/ Francine Zepeda
                                                                      FRANCINE ZEPEDA
13                                                                    Assistant Federal Defender
                                                                      Attorneys for Defendant
14                                                                    ESTEVAN RODRIGUEZ
15
16   DATED: December 13, 2007                                      /s/ E. Marshall Hodgkins, III
                                                                     E. MARSHALL HODGKINS, III
17                                                                   Attorney for Defendant
                                                                     ELENO RODRIGUEZ
18
19
20                                                     ORDER
21           IT IS SO ORDERED. Time is hereby excluded pursuant to 18 U.S.C. §§ 3161(h)(1)(F),
22   3161(h)(8)(A) and 3161(h)(8)(B)(i) and (iv).
23   IT IS SO ORDERED.
24   Dated:      December 14, 2007                        /s/ Anthony W. Ishii
     0m8i78                                         UNITED STATES DISTRICT JUDGE
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26
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     Stipulation to Continue Status Conference
     Hearing; [Proposed] Order Thereon                     -2-
